                 Case 2:17-cr-00064-JAM Document 91 Filed 01/16/18 Page 1 of 2


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 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-064 JAM
12                                Plaintiff,             STIPULATION CONTINUING FILING AND
                                                         HEARING DATES ON DEFENDANT’S
13                          v.                           DISCOVERY MOTION; ORDER
14   GARY ROBERTS,                                       DATE: February 5, 2018
                                                         TIME: 2:00 p.m.
15                                Defendant.             COURT: Hon. Kendall J. Newman
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous motion, this matter was set for hearing on February 5, 2018. Dkt. #86.

21          2.      By this stipulation, the parties now move to continue the discovery hearing to February

22 26, 2018, at 2:00 PM, before Magistrate Judge Allison Claire. In addition, they stipulate that the

23 government’s response to the defendant’s motion will be due on February 12, 2018, and that the

24 defendant’s reply will be due on February 19, 2018.

25          3.      This continuance will allow the government attorney to meet with the case agent and to

26 continue to investigate the availability of the discovery items that the defense has requested.

27          4.      The defendant is out of custody. Dkt. #67.

28          5.      On May 4, 2017, the Grand Jury returned an indictment charging him with conspiring to


      STIP. CONTINUING FILING AND HEARING DATES ON
                                                         1
      DEFENDANT’S DISCOVERY MOTION; [PROPOSED] ORDER
                 Case 2:17-cr-00064-JAM Document 91 Filed 01/16/18 Page 2 of 2


 1 distribute and to possess with intent to distribute methamphetamine, a violation of 21 U.S.C. §§ 846,

 2 841(a)(1). The Grand Jury also charged the defendant with possessing with intent to distribute

 3 methamphetamine, a violation of 21 U.S.C. § 841(a)(1). Dkt. #46.

 4          6.      The matter’s next status conference is set for February 13, 2018 before the Honorable

 5 John A. Mendez. Dkt. #83.

 6          IT IS SO STIPULATED.

 7
     Dated: January 12, 2018                                McGREGOR W. SCOTT
 8                                                          United States Attorney
 9
                                                            /s/ AMANDA BECK
10                                                          AMANDA BECK
                                                            Assistant United States Attorney
11

12
     Dated: January 12, 2018                                /s/ ETAN ZAITSU
13                                                          ETAN ZAITSU
14                                                          Counsel for Defendant
                                                            GARY ROBERTS
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17

18                                         FINDINGS AND ORDER

19          IT IS SO FOUND AND ORDERED.

20 Dated: January 12, 2018

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      STIP. CONTINUING FILING AND HEARING DATES ON
                                                        2
      DEFENDANT’S DISCOVERY MOTION; [PROPOSED] ORDER
